                Case 18-14821-LMI      Doc 54       Filed 09/11/18   Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                          Case No.: 18-14821-LMI

WILL ZAMORA,                                    Chapter 13

         Debtor.
                                            /

                CREDITOR TIMOTHY MOSLEY’S RESPONSE TO
              THE TRUSTEE’S MOTION FOR RECONSIDERATION OF
            ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
         AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING [ECF 46]

         Creditor Timothy Mosley (“Mosley”), files this Response to the Trustee’s Motion for
Reconsideration of Order Granting Motion to Withdraw as Counsel and Certificate of Service of
Notice of Hearing (the “Motion to Reconsider”) [ECF 46], and states:
         1.    The Trustee’s Motion to Reconsider requests that the Debtor’s former counsel
provide a physical address for the Debtor at which the Trustee may serve papers and
correspondence.    While the Debtor’s former counsel has represented to the Court that she
believes the Debtor has moved to Puerto Rico at some address unknown to her, or is on vacation
in Germany, the Debtor’s former counsel has provided no proof of such. The Debtor’s former
counsel should not have filed this case without adequate investigation or contact information for
her client. The fact that the Debtor’s former counsel contends that the Debtor has ignored her
emails, is not otherwise responding to her, or has potentially moved from Miami should not in
any way impact the Court’s decision as to whether to convert this case to a chapter 7 over the
Debtor’s request to dismiss it [ECF 41]. The Debtor’s apparent decision to simply ignore
everyone and to ignore two of the Court’s Order at ECF 18 and 41 should not be rewarded by the
Court with a dismissal of his case.
         2.    During the eviction of the Debtor at Mosley’s house, a 2017 BMW 740l located
in the driveway of Mosley’s house was found to be registered to a “William Yanes,” which is the




                                                1
               Case 18-14821-LMI         Doc 54       Filed 09/11/18   Page 2 of 2



Debtor’s first and middle names per other documents utilized by the Debtor1, with an address on
that 2018 BMW registration as 850 N. Miami Avenue, Apt. 1510, Miami, FL 33136-3545 [ECF
35, Ex. J]. The birth month and year on this registration also matches other information for the
Debtor (registrations do not have the birth day). This is likely the physical address of the Debtor.
It would appear unlikely Debtor has filed five previous bankruptcies in Miami in the last 10
years and has a large, $100,000 plus car registered to a downtown Miami apartment address in
the last year, but has moved to Puerto Rico.
        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 11th day of September, 2018.
                                               STEVEN FENDER P.A.

                                               /s/ G. Steven Fender
                                               G. STEVEN FENDER, ESQ.
                                               Florida Bar No. 060992
                                               Attorney for Creditor Timothy Mosley
                                               P.O. Box 1545
                                               Ft. Lauderdale, FL 33302
                                               Telephone: (407) 810-2458
                                               Email: steven.fender@fender-law.com


Electronic Mail Notice List
    Sandra Navarro-Garcia                     snglawcourt@yahoo.com
    Office of the U.S. Trustee                USTPRegion21.MM.ECF@usdoj.gov
    Nancy K. Neidich                          e2c8f01@ch13miami.com; ecf@chapter13.com
Via U.S. Mail
Will Zamora
850 N. Miami Avenue, Apt. 1510
Miami, FL 33136-3545
Via Electronic Mail
wzamora@bsuniverse.com


1
        The Debtor discloses “Yanes” as his middle name in his four previous bankruptcies, S.D.
Fla. Bankr. Case Nos. 08-12574-AJC, 09-11088-LMI, 11-22923-RAM, and 14-30083-RAM. As
stated above, the Debtor never filed schedules in any of these cases and simply dismissed them
when it came time to file schedules and to make basic disclosures.
1524401v2
                                                  2
